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                    IN THE UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION

IN RE:
                                                                CASE NO.: 3:19-bk-03614-JAF

ANGELO L. WILLIMAS,

      Debtor.
________________________________/

                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the attached Amended Summary of Your Assets
and Liabilities and Certain Statistical Information and Schedule A has been has been furnished
by Electronic Mail or U.S. Mail to all parties of interest listed on the attached mailing matrix on
this 23rd day October, 2019.

                                                      The Law Offices of Keith D. Collier, PLLC

                                                      /s/ Keith D. Collier, Esquire
                                                      KEITH D. COLLIER
                                                      Florida Bar No.: 0633771
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